Case: 4:16-cv-01693-NAB Doc. #: 214 Filed: 04/08/21 Page: 1 of 2 PageID #: 2654




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

THOMAS BAKER, SEAN BAILEY, NICOLE
BOLDEN, ALLISON NELSON, MEREDITH
WALKER, individually and on behalf of all
others similarly situated,                                                  Case No.: 4:16-cv-1693

         Plaintiffs,
vs.

CITY OF FLORISSANT, MISSOURI,

         Defendant.

                            REPLY IN SUPPORT OF
              DEFENDANT’S MOTION FOR LEAVE TO FILE EXCESS PAGES

         Where the Plaintiffs are most clearly incorrect in their opposition to the Defendant’s

request for excess pages lies in their suggestion that the class certification motion in this case is

in any way “typical.” 1 Defendant would respectfully suggest that a “typical” motion for class

certification is not filed during the pendency of a motion to reconsider [ECF 160] a failed motion

for leave to amend a complaint [ECF 142]. A typical motion for class certification does not seek

to certify 8 classes (4 in the alternative) where 4 different classes have been pled [Compare ECF

167 and 204]. A typical motion for class certification does not attempt to broadly expand classes

and claims well beyond the pleadings, particularly after the Plaintiffs have been denied

amendment to those pleadings based on their own lack of diligence [Compare ECF 167 and 200].

That the Plaintiff suggests that they will suffer obstruction or be denied “balanced consideration”

of the arguments is without merit.




1
 See ECF 213 at p. 2, where the Plaintiffs state that “the need to respond to content typically covered in a Motion
for Class Certification cannot support such a sizable page increase.” Id. (citations omitted, emphasis added).
Case: 4:16-cv-01693-NAB Doc. #: 214 Filed: 04/08/21 Page: 2 of 2 PageID #: 2655




       In addition, the Plaintiffs have not sought an evidentiary hearing on class certification,

and the Defendant will make no such request. Given the nature and scope of this case and the

foregoing circumstances, Defendant respectfully submits that enhanced briefing is appropriate.

Nevertheless, the Defendant has efforted and will continue to effort to reduce the size of its

response in opposition to class certification below the allotment requested. But its request,

atypical though it may be, is required to meet the atypical motion filed by the Plaintiffs. This is

requested in the interest of justice and not for any improper purpose.

                                             Respectfully submitted,

                                              /s/ Blake D. Hill
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                                             Attorneys for Defendant City of Florissant, MO

                                 CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing filed electronically with the Clerk of the
Court this 8th day of April 2021 to be served by operation of the Court’s electronic filing system
upon all parties through their counsel registered with CM/ECF.
                                                      /s/ Blake D. Hill




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